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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


    ACORN SEMI, LLC,
                    Plaintiff,

             v.

    SAMSUNG ELECTRONICS CO., LTD.,                      Civil Action No. 2:19-cv-00347-JRG
    SAMSUNG ELECTRONICS AMERICA,
    INC., SAMSUNG SEMICONDUCTOR,
    INC., and SAMSUNG AUSTIN
    SEMICONDUCTOR, LLC,
                    Defendants.



           CLAIM CONSTRUCTION MEMORANDUM OPINION AND ORDER

      Before the Court is the opening claim construction brief of Plaintiff Acorn Semi, LLC

(“Plaintiff”) (Dkt. No. 65, filed on August 21, 2010), 1 the response of Defendants Samsung

Electronics Co., Ltd., Samsung Electronics America, Inc., Samsung Semiconductor, Inc., and

Samsung Austin Semiconductor, LLC (collectively, the “Defendants”) (Dkt. No. 69, filed on

September 4, 2020), and Plaintiff’s reply (Dkt. No. 71, filed on September 11, 2020). The Court

held a hearing on the issues of claim construction and claim definiteness on October 5, 2020.

Having considered the arguments and evidence presented by the parties at the hearing and in their

briefing, the Court issues this Order.




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  Citations to the parties’ filings are to the filing’s number in the docket (Dkt. No.) and pin cites
are to the page numbers of the documents.
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I.      BACKGROUND

     Plaintiff alleges infringement of six U.S. Patents: No. 7,084,423 (the “’423 Patent”), No.

8,766,336 (the “’336 Patent”), No. 9,209,261 (the “’261 Patent”), No. 9,461,167 (the “’167

Patent”), No. 9,905,691 (the “’691 Patent”), and No. 10,090,395 (the “’395 Patent”) (collectively,

the “Asserted Patents”). Each of the Asserted Patents is entitled Method for Depinning the Fermi

Level of a Semiconductor at an Electrical Junction and Devices Incorporating Such Junctions. The

patents are related and each claim priority to the application that issued as the ’423 Patent, which

was filed on August 12, 2002. 2

     In general, the Asserted Patents are directed to technology for improving the performance of

conductor/semiconductor junctions by separating the conductor (such as a metal) from the

semiconductor with an interface layer to address surface state effects on the Schottky barrier. The

appropriate interface layer can serve to depin the Fermi level of the semiconductor to enable tuning

of the height of the Schottky barrier of the junction. Depinning may involve (1) passivating the

semiconductor by terminating dangling bonds on the surface of the semiconductor and (2)

separating the conductor from the semiconductor by a sufficient distance to reduce metal-induced

gap states (MIGS).

     The abstract of the ’423 Patent provides:

        An electrical device in which an interface layer is disposed between and in contact
        with a metal and a Si-based semiconductor, the interface layer being of a thickness
        effective to depin of the Fermi level of the semiconductor while still permitting
        current to flow between the metal and the semiconductor. The interface layer may
        include a layer of a passivating material (e.g., made from nitrogen, oxygen,
        oxynitride, arsenic, hydrogen and/or fluorine) and sometimes also includes a
        separation layer. In some cases, the interface layer may be a monolayer of a
        semiconductor passivating material. The interface layer thickness corresponds to a



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  The patents share a substantially similar specification (outside the claim set) and the Court cites
the ’423 Patent herein with the understanding that all the patents include the cited material.
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         minimum specific contact resistance of less than or equal to 10 Ω-µm2 or even less
         than or equal to 1 Ω-µm2 for the electrical device.

      The abstract of the ’336 Patent provides:

         An electrical device in which an interface layer comprising arsenic is disposed
         between and in contact with a conductor and a semiconductor. In some cases, the
         interface layer may be a monolayer of arsenic.

      The abstracts of the ’261, ’167, ’691, and the ’395 Patents are identical and provide:

         An electrical device in which an interface layer is disposed in between and in
         contact with a conductor and a semiconductor.

      Claims 62 and 63 of the ’423 Patent, exemplary asserted claims, recite as follows (with terms

in dispute emphasized):

            62. An electrical device, comprising a junction between a Si-based
          semiconductor and a conductor separated from the semiconductor by an
          interface layer having a thickness sufficient to depin a Fermi level of the
          conductor in a vicinity of the junction yet thin enough to provide the junction
          with a specific contact resistance that is generally dependent on the
          workfunction of the conductor.

           63. The electrical device of claim 62 wherein the interface layer includes a
          passivating material.

’423 Patent col.22 ll.14–23.

II.      LEGAL PRINCIPLES

         A.     Claim Construction

      “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the invention to

which the patentee is entitled the right to exclude.’” Phillips v. AWH Corp., 415 F.3d 1303, 1312

(Fed. Cir. 2005) (en banc) (quoting Innova/Pure Water Inc. v. Safari Water Filtration Sys., Inc.,

381 F.3d 1111, 1115 (Fed. Cir. 2004)). To determine the meaning of the claims, courts start by

considering the intrinsic evidence. Id. at 1313; C.R. Bard, Inc. v. U.S. Surgical Corp., 388 F.3d

858, 861 (Fed. Cir. 2004); Bell Atl. Network Servs., Inc. v. Covad Commc’ns Grp., Inc., 262 F.3d

1258, 1267 (Fed. Cir. 2001). The intrinsic evidence includes the claims themselves, the

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specification, and the prosecution history. Phillips, 415 F.3d at 1314; C.R. Bard, Inc., 388 F.3d at

861. The general rule—subject to certain specific exceptions discussed infra—is that each claim

term is construed according to its ordinary and accustomed meaning as understood by one of

ordinary skill in the art at the time of the invention in the context of the patent. Phillips, 415 F.3d

at 1312–13; Alloc, Inc. v. Int’l Trade Comm’n, 342 F.3d 1361, 1368 (Fed. Cir. 2003); Azure

Networks, LLC v. CSR PLC, 771 F.3d 1336, 1347 (Fed. Cir. 2014) (quotation marks omitted)

(“There is a heavy presumption that claim terms carry their accustomed meaning in the relevant

community at the relevant time.”) cert. granted, judgment vacated, 135 S. Ct. 1846 (2015).

    “The claim construction inquiry . . . begins and ends in all cases with the actual words of the

claim.” Renishaw PLC v. Marposs Societa’ per Azioni, 158 F.3d 1243, 1248 (Fed. Cir. 1998). “[I]n

all aspects of claim construction, ‘the name of the game is the claim.’” Apple Inc. v. Motorola,

Inc., 757 F.3d 1286, 1298 (Fed. Cir. 2014) (quoting In re Hiniker Co., 150 F.3d 1362, 1369 (Fed.

Cir. 1998)) overruled on other grounds by Williamson v. Citrix Online, LLC, 792 F.3d 1339 (Fed.

Cir. 2015). First, a term’s context in the asserted claim can be instructive. Phillips, 415 F.3d at

1314. Other asserted or unasserted claims can also aid in determining the claim’s meaning, because

claim terms are typically used consistently throughout the patent. Id. Differences among the claim

terms can also assist in understanding a term’s meaning. Id. For example, when a dependent claim

adds a limitation to an independent claim, it is presumed that the independent claim does not

include the limitation. Id. at 1314–15.

        “[C]laims ‘must be read in view of the specification, of which they are a part.’” Id. (quoting

Markman v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995) (en banc)). “[T]he

specification ‘is always highly relevant to the claim construction analysis. Usually, it is dispositive;

it is the single best guide to the meaning of a disputed term.’” Id. (quoting Vitronics Corp. v.



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Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996)); Teleflex, Inc. v. Ficosa N. Am. Corp.,

299 F.3d 1313, 1325 (Fed. Cir. 2002). This is true because a patentee may define his own terms,

give a claim term a different meaning than the term would otherwise possess, or disclaim or

disavow the claim scope. Phillips, 415 F.3d at 1316. In these situations, the inventor’s

lexicography governs. Id. The specification may also resolve ambiguous claim terms “where the

ordinary and accustomed meaning of the words used in the claims lack sufficient clarity to permit

the scope of the claim to be ascertained from the words alone.” Teleflex, Inc., 299 F.3d at 1325.

But, “‘[a]lthough the specification may aid the court in interpreting the meaning of disputed claim

language, particular embodiments and examples appearing in the specification will not generally

be read into the claims.’” Comark Commc’ns, Inc. v. Harris Corp., 156 F.3d 1182, 1187 (Fed. Cir.

1998) (quoting Constant v. Advanced Micro-Devices, Inc., 848 F.2d 1560, 1571 (Fed. Cir. 1988));

see also Phillips, 415 F.3d at 1323. “[I]t is improper to read limitations from a preferred

embodiment described in the specification—even if it is the only embodiment—into the claims

absent a clear indication in the intrinsic record that the patentee intended the claims to be so

limited.” Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 913 (Fed. Cir. 2004).

    The prosecution history is another tool to supply the proper context for claim construction

because, like the specification, the prosecution history provides evidence of how the U.S. Patent

and Trademark Office (“PTO”) and the inventor understood the patent. Phillips, 415 F.3d at 1317.

However, “because the prosecution history represents an ongoing negotiation between the PTO

and the applicant, rather than the final product of that negotiation, it often lacks the clarity of the

specification and thus is less useful for claim construction purposes.” Id. at 1318; see also Athletic

Alts., Inc. v. Prince Mfg., 73 F.3d 1573, 1580 (Fed. Cir. 1996) (ambiguous prosecution history

may be “unhelpful as an interpretive resource”).



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    Although extrinsic evidence can also be useful, it is “‘less significant than the intrinsic record

in determining the legally operative meaning of claim language.’” Phillips, 415 F.3d at 1317

(quoting C.R. Bard, Inc., 388 F.3d at 862). Technical dictionaries and treatises may help a court

understand the underlying technology and the manner in which one skilled in the art might use

claim terms, but technical dictionaries and treatises may provide definitions that are too broad or

may not be indicative of how the term is used in the patent. Id. at 1318. Similarly, expert testimony

may aid a court in understanding the underlying technology and determining the particular

meaning of a term in the pertinent field, but an expert’s conclusory, unsupported assertions as to a

term’s definition are not helpful to a court. Id. Extrinsic evidence is “less reliable than the patent

and its prosecution history in determining how to read claim terms.” Id. The Supreme Court has

explained the role of extrinsic evidence in claim construction:

       In some cases, however, the district court will need to look beyond the patent’s
       intrinsic evidence and to consult extrinsic evidence in order to understand, for
       example, the background science or the meaning of a term in the relevant art during
       the relevant time period. See, e.g., Seymour v. Osborne, 11 Wall. 516, 546 (1871)
       (a patent may be “so interspersed with technical terms and terms of art that the
       testimony of scientific witnesses is indispensable to a correct understanding of its
       meaning”). In cases where those subsidiary facts are in dispute, courts will need to
       make subsidiary factual findings about that extrinsic evidence. These are the
       “evidentiary underpinnings” of claim construction that we discussed in Markman,
       and this subsidiary factfinding must be reviewed for clear error on appeal.

Teva Pharm. USA, Inc. v. Sandoz, Inc., 574 U.S. 318, 331–32 (2015).

       B.      Departing from the Ordinary Meaning of a Claim Term

    There are “only two exceptions to [the] general rule” that claim terms are construed according

to their plain and ordinary meaning: “1) when a patentee sets out a definition and acts as his own

lexicographer, or 2) when the patentee disavows the full scope of the claim term either in the




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specification or during prosecution.” 3 Golden Bridge Tech., Inc. v. Apple Inc., 758 F.3d 1362, 1365

(Fed. Cir. 2014) (quoting Thorner v. Sony Comput. Entm’t Am. LLC, 669 F.3d 1362, 1365 (Fed.

Cir. 2012)); see also GE Lighting Sols., LLC v. AgiLight, Inc., 750 F.3d 1304, 1309 (Fed. Cir.

2014) (“[T]he specification and prosecution history only compel departure from the plain meaning

in two instances: lexicography and disavowal.”). The standards for finding lexicography or

disavowal are “exacting.” GE Lighting Sols., 750 F.3d at 1309.

    To act as his own lexicographer, the patentee must “clearly set forth a definition of the

disputed claim term,” and “clearly express an intent to define the term.” Id. (quoting Thorner, 669

F.3d at 1365); see also Renishaw, 158 F.3d at 1249. The patentee’s lexicography must appear

“with reasonable clarity, deliberateness, and precision.” Renishaw, 158 F.3d at 1249.

    To disavow or disclaim the full scope of a claim term, the patentee’s statements in the

specification or prosecution history must amount to a “clear and unmistakable” surrender. Cordis

Corp. v. Bos. Sci. Corp., 561 F.3d 1319, 1329 (Fed. Cir. 2009); see also Thorner, 669 F.3d at 1366

(“The patentee may demonstrate intent to deviate from the ordinary and accustomed meaning of a

claim term by including in the specification expressions of manifest exclusion or restriction,

representing a clear disavowal of claim scope.”). “Where an applicant’s statements are amenable

to multiple reasonable interpretations, they cannot be deemed clear and unmistakable.” 3M

Innovative Props. Co. v. Tredegar Corp., 725 F.3d 1315, 1326 (Fed. Cir. 2013).

       C.      Definiteness Under 35 U.S.C. § 112, ¶ 2 (pre-AIA) / § 112(b) (AIA)

    Patent claims must particularly point out and distinctly claim the subject matter regarded as

the invention. 35 U.S.C. § 112, ¶ 2. A claim, when viewed in light of the intrinsic evidence, must


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 Some cases have characterized other principles of claim construction as “exceptions” to the
general rule, such as the statutory requirement that a means-plus-function term is construed to
cover the corresponding structure disclosed in the specification. See, e.g., CCS Fitness, Inc. v.
Brunswick Corp., 288 F.3d 1359, 1367 (Fed. Cir. 2002).
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“inform those skilled in the art about the scope of the invention with reasonable certainty.” Nautilus

Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 910 (2014). If it does not, the claim fails § 112, ¶ 2

and is therefore invalid as indefinite. Id. at 901. Whether a claim is indefinite is determined from

the perspective of one of ordinary skill in the art as of the time the application for the patent was

filed. Id. at 911. As it is a challenge to the validity of a patent, the failure of any claim in suit to

comply with § 112 must be shown by clear and convincing evidence. BASF Corp. v. Johnson

Matthey Inc., 875 F.3d 1360, 1365 (Fed. Cir. 2017). “[I]ndefiniteness is a question of law and in

effect part of claim construction.” ePlus, Inc. v. Lawson Software, Inc., 700 F.3d 509, 517 (Fed.

Cir. 2012).

       When a term of degree is used in a claim, “the court must determine whether the patent

provides some standard for measuring that degree.” Biosig Instruments, Inc. v. Nautilus, Inc., 783

F.3d 1374, 1378 (Fed. Cir. 2015) (quotation marks omitted). Likewise, when a subjective term is

used in a claim, “the court must determine whether the patent’s specification supplies some

standard for measuring the scope of the [term].” Datamize, LLC v. Plumtree Software, Inc., 417

F.3d 1342, 1351 (Fed. Cir. 2005). The standard “must provide objective boundaries for those of

skill in the art.” Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364, 1371 (Fed. Cir. 2014).

III.      AGREED CONSTRUCTIONS

       The parties have agreed to constructions set forth in their P.R. 4-5(d) Joint Claim Construction

Chart (Dkt. No. 75). Based on the parties’ agreement, the Court hereby adopts the agreed

constructions for this case.




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IV.        CONSTRUCTION OF DISPUTED TERMS

           A.     “an electrical device” and “a semiconductor device”

           Disputed Term 4               Plaintiff’s Proposed             Defendants’ Proposed
                                            Construction                      Construction
    “an electrical device”           The preamble is limiting.         The preamble is not limiting.

    •   ’423 Patent Claim 62
    “a semiconductor device”         The preamble is limiting.         The preamble is not limiting.

    •   ’395 Patent Claim 23

        Because the parties’ arguments and proposed constructions with respect to these terms are

related, the Court addresses the terms together.

        The Parties’ Positions

        Plaintiff submits: Giving limiting weight to the “device” preambles is necessary to distinguish

between claims expressly drawn to electrical junctions and claims expressly drawn to devices that

include such junctions. The distinction between a junction and a device incorporating a junction is

repeatedly stated in the Asserted Patents. As described in the patents, the purpose of the invention

was to improve electrical and semiconductor devices, not simply to improve a junction. The claim

bodies alone do not capture the “device” aspect of the invention, but rather recite simply a junction.

The “device” claims are properly understood only with reference to the preambles, and thus the

preambles are limiting. Dkt. No. 65 at 4–10.

        In addition to the claims themselves, Plaintiff cites the following intrinsic and extrinsic

evidence to support its position: Intrinsic evidence: ’423 Patent, at [54] Title, [57] Abstract, figs.5,

6, 8, col.1 ll.18–19, col.2 l.65 – col.3 l.4, col.3 ll.34–40, col.4 ll.63–66, col.6 ll.6–10, col.7 l.54 –



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  For all term charts in this order, the claims in which the term is found are listed with the term
but: (1) only the highest-level claim in each dependency chain is listed, and (2) only claims
identified in the parties’ P.R. 4-5(d) Joint Claim Construction Chart (Dkt. No. 75) are listed.
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col.8 l.6, col.8 ll.23–32, col.8 ll.56–58, col.9 ll.1–9, col.10 ll.32–35, col.13 ll.12–20, col.15 l.66 –

col.16 l.15, col.17 ll.12–18. Extrinsic evidence: Piner Decl. 5 ¶¶ 41–47 (Plaintiff’s Ex. G, Dkt. No.

65-8).

      Defendants respond: Each of the bodies of the claims at issue recites a structurally complete

invention and thus the preambles are nonlimiting statements of intended use. As described in the

Asserted Patents, the essence of the invention is the metal–interface layer–semiconductor junction.

As this essence is expressly recited in the body of the claims at issue, reference to their preambles

is not necessary for a proper understanding of the claimed invention. Dkt. No. 69 at 1–4.

      In addition to the claims themselves, Defendants cite the following intrinsic evidence to

support their position: ’423 Patent fig.6, col.1 ll.19–22, col.3 ll.56–60, col.4 ll.3–9, col.4 ll.43–46,

col.13 ll.11–14.

      Plaintiff replies: As described in the Asserted Patents, the invention is not directed solely to a

particular junction. It is expressly also directed to devices that include such a junction. The

preambles distinguish between claims drawn to devices from those drawn solely to junctions. Dkt.

No. 71 at 1.

      Plaintiff cites further intrinsic evidence to support its position: ’423 Patent col.1 ll.18–22.

      Analysis

      The issue in dispute is whether the preambles of Claim 62 of the ’423 Patent and Claim 23 of

the ’395 Patent are limiting. They are not.

      Under Federal Circuit precedent “a preamble is not limiting where a patentee defines a

structurally complete invention in the claim body and uses the preamble only to state a purpose or

intended use for the invention.” Acceleration Bay, LLC v. Activision Blizzard, Inc., 908 F.3d 765,



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    Declaration of Edwin Piner, Ph.D., Regarding Claim Construction.
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770 (Fed. Cir. 2018) (quotation marks and citations omitted). Likewise, a preamble is not limiting

when it “merely gives a descriptive name to the set of limitations in the body of the claim that

completely set forth the invention.” Am. Med. Sys. v. Biolitec, Inc., 618 F.3d 1354, 1359 (Fed. Cir.

2010) (citation omitted). A preamble is limiting, however, when it is “necessary to give life,

meaning, and vitality to the claim.” Catalina Mktg. Int’l, Inc. v. Coolsavings.com, Inc., 289 F.3d

801, 808 (Fed. Cir. 2002) (quotation marks and citation omitted). For example, “dependence on a

particular disputed preamble phrase for antecedent basis may limit claim scope because it indicates

a reliance on both the preamble and claim body to define the claimed invention.” Id. (citation

omitted). “Likewise, when the preamble is essential to understand limitations or terms in the claim

body, the preamble limits claim scope.” Id. (citation omitted). “Further, when reciting additional

structure or steps underscored as important by the specification, the preamble may operate as a

claim limitation.” Id. (citations omitted).

    Here, the preambles at issue do not provide context necessary to properly understand the

claims and do not recite any additional limitations over the body of the claim. Claim 62 of the ’432

Patent provides:

           62. An electrical device, comprising a junction between a Si-based
         semiconductor and a conductor separated from the semiconductor by an
         interface layer having a thickness sufficient to depin a Fermi level of the
         conductor in a vicinity of the junction yet thin enough to provide the junction
         with a specific contact resistance that is generally dependent on the
         workfunction of the conductor.

’423 Patent col.22 ll.14–21. Claim 23 of the ’395 Patent provides:

           23. A semiconductor device, comprising:
           a semiconductor region,
           a metal electrical contact to said semiconductor region, and
           an interface layer disposed between and in contact with said semiconductor
             region and said metal electrical contact, said semiconductor region being
             electrically connected to said metal electrical contact through said interface
             layer and said interface layer comprising an oxide of titanium and an oxide
             of the semiconductor region.
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’395 Patent col.20 ll.9–19. Both claims recite a semiconductor-conductor/metal junction with an

interface layer disposed between the semiconductor and conductor. The claims further recite that

the junction has particular electrical characteristics.

    The patents describe that a junction itself is an electrical/semiconductor device. For instance,

in describing the prior art, the patents provide:

        One of the most basic electrical junctions used in modern devices is the metal-
        semiconductor junction. In these junctions, a metal (such as aluminum) is brought
        in contact with a semiconductor (such as silicon). This forms a device (a diode)
        which can be inherently rectifying; that is, the junction will tend to conduct current
        in one direction more favorably than in the other direction. In other cases,
        depending on the materials used, the junction may be ohmic in nature (i.e., the
        contact may have negligible resistance regardless of the direction of current flow).

’423 Patent col.1 ll.25–34. In other words, a semiconductor-metal junction is a device. Similarly,

in describing an embodiment of the invention with reference to Figure 6 (reproduced here), the

patents provide:

        FIG. 6 shows an example of a diode 600 containing,                        Fig. 6
        according to one embodiment of the present invention,
        an interface layer 620 disposed between and attached to
        both a semiconductor 610 and a conductor 630. The
        conductor and the semiconductor are operable to be
        electrically coupled with different voltages associated
        with the operation of the diode 600 and to pass electrical
        current through a passivated semiconductor surface
        formed at the junction between the semiconductor 610
        and the interface layer 620.

Id. at col.13 ll.11–20. In this embodiment, the conductor-interface layer-semiconductor junction is

a device (a diode). While the embodiment here is described with certain electrical characteristics

(e.g., it conducts current through a passivated semiconductor surface), the claims at issue

themselves recite similar electrical characteristics: Claim 62 of the ’423 Patent recites “depin a

Fermi level” and “specific contact resistance.” Claim 23 of the ’395 Patent recites “semiconductor

region being electrically connected to said metal electrical contact through said interface.”


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     On balance, the preambles do not provide any important “electrical” or “semiconductor”

context that is not stated in the body of the claim. Rather, “electrical device” and “semiconductor

device” each “merely gives a descriptive name to the set of limitations in the body of the claim

that completely set forth the invention.” Am. Med. Sys., 618 F.3d at 1359.

     Accordingly, the Court determines that the preambles of Claim 62 of the ’423 Patent and

Claim 23 of the ’395 Patent are not limiting.

       B.      The “Depin” Terms

        Disputed Term                  Plaintiff’s Proposed           Defendants’ Proposed
                                           Construction                     Construction
 “sufficiently thick to depin a   displacing the semiconductor     displacing the semiconductor
 Fermi level of the               from the contact metal by a      from the contact metal by a
 semiconductor”                   sufficient distance to           sufficient distance to
                                  eliminate or at least reduce     eliminate or at least reduce
 •   ’336 Patent Claims 5, 68     the effects of metal-induced     the effects of metal-induced
                                  gap states in the                gap states in the
                                  semiconductor and                semiconductor and
                                  terminating all or               terminating all or
                                  substantially all dangling       substantially all dangling
                                  bonds that may be present at     bonds at the surface of the
                                  the surface of the               semiconductor
                                  semiconductor without the
                                  layer present



 “having a thickness sufficient   displacing the semiconductor     displacing the semiconductor
 to depin a Fermi level of the    from the conductor by a          from the conductor by a
 conductor”                       sufficient distance to           sufficient distance to
                                  eliminate or at least reduce     eliminate or at least reduce
 •   ’423 Patent Claim 62         the effects of metal-induced     the effects of metal-induced
 •   ’336 Patent Claims 13,       gap states in the                gap states in the
     74, 77                       semiconductor and                semiconductor and
                                  terminating all or               terminating all or
                                  substantially all dangling       substantially all dangling
                                  bonds that may be present at     bonds at the surface of the
                                  the surface of the               semiconductor
                                  semiconductor without the
                                  layer present



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        Disputed Term                   Plaintiff’s Proposed             Defendants’ Proposed
                                            Construction                      Construction
 “has a thickness sufficient to    displaces the semiconductor       displaces the semiconductor
 depin a Fermi level of the        from the metal electrical         from the metal electrical
 metal electrical contact”         contact by a sufficient           contact by a sufficient
                                   distance to eliminate or at       distance to eliminate or at
 •   ’395 Patent Claim 5           least reduce the effects of       least reduce the effects of
                                   metal-induced gap states in       metal-induced gap states in
                                   the semiconductor and             the semiconductor and
                                   terminates all or substantially   terminates all or substantially
                                   all dangling bonds that may       all dangling bonds at the
                                   be present at the surface of      surface of the semiconductor
                                   the semiconductor without
                                   the layer present


     Because the parties’ arguments and proposed constructions with respect to these terms are

related, the Court addresses the terms together.

     The Parties’ Positions

     Plaintiff submits: Depinning with an interface layer is defined in the Asserted Patents as

including termination of “all, or substantially all, dangling bonds that may otherwise be present at

the semiconductor surface . . . .” Dkt. No. 65 at 11 (quoting ’423 Patent col.3 ll.23–28) (emphasis

removed). This refers to dangling bonds that may be present at the semiconductor surface when

the interface layer is not present. Id. at 10–12.

     In addition to the claims themselves, Plaintiff cites the following intrinsic and extrinsic

evidence to support its position: Intrinsic evidence: ’423 Patent fig.5, col.3 ll.23–28, col.5 ll.1–4,

col.9 ll.22–26. Extrinsic evidence: Piner Decl. ¶¶ 48–58 (Plaintiff’s Ex. G, Dkt. No. 65-8).

     Defendants respond: The definition of depinning in the Asserted Patents requires that “all, or

substantially all, dangling bonds that may otherwise be present at the semiconductor surface have

been terminated ….” Dkt. No. 69 at 5 (quoting ’423 Patent col.3 ll.23–38) (ellipsis in original).

This means simply that all or substantially all of the dangling bonds at the surface have been

terminated, otherwise depinning is not achieved. Id. at 4–8.
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     In addition to the claims themselves, Defendants cite the following intrinsic evidence to

support their position: ’423 Patent fig.5, col.3 ll.23–28, col.5 ll.1–4, col.9 ll.21–26, col.9 ll.38–46,

col.10 ll.9–26, col.12 ll.21–27, col.15 ll.48–51.

     Plaintiff replies: As described in the Asserted Patents, the interface layer serves to improve a

metal-semiconductor junction by depinning the semiconductor. This means that the dangling

bonds that are terminated by the interface layer are those that would otherwise be present in the

junction absent the layer. “If the metal at the metal-semiconductor junction already acts to

terminate some dangling bonds, then the interface layer only constitutes an improvement if it

terminates more dangling bonds.” Dkt. No. 71 at 2; see also id. at 1–3.

     Plaintiff cites further intrinsic evidence to support its position: ’423 Patent col.3 ll.12–28,

col.4 l.63 – col.5 l.6.

     Analysis

     The issue in dispute distills to whether the patents’ statement that “all, or substantially all,

dangling bonds that may otherwise be present at the semiconductor surface” refers to dangling

bonds that may be present if not for the interface layer. It does.

     The Court agrees with Plaintiff’s interpretation of the “depinning” definitional language.

Specifically, the Asserted Patents provide:

        The present inventors have determined that for thin interface layers disposed
        between a metal and a silicon-based semiconductor (e.g., Si, SiC and SiGe), so
        as to form a metal-interface layer-semiconductor junction, there exist
        corresponding minimum specific contact resistances. The interface layer
        thickness corresponding to this minimum specific contact resistance will vary
        depending upon the materials used, however, it is a thickness that allows for
        depinning the Fermi level of the semiconductor while still permitting current
        to flow between the metal and the semiconductor when the junction is biased
        (e.g., forward or reverse biased). By depinning the Fermi level, the present
        inventors mean a condition wherein all, or substantially all, dangling bonds
        that may otherwise be present at the semiconductor surface have been
        terminated, and the effect of MIGS has been overcome, or at least reduced, by

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       displacing the semiconductor a sufficient distance from the metal. Minimum
       specific contact resistances of less than or equal to approximately 10 Ω-µm2 or
       even less than or equal to approximately 1 Ω-µm2 may be achieved for such
       junctions in accordance with the present invention.

’423 Patent col.3 ll.12–32 (emphasis added). Thus, depinning involves terminating dangling

bonds. Plaintiff’s interpretation of the “may otherwise be present” language is more reasonable

than Defendants’ understanding. Specifically, “depinning” here necessarily includes the addition

of a layer to: (1) displace the semiconductor from the metal to reduce MIGS, and (2) terminate

bonds that may otherwise be present. There are two relative terms here: “reduced” and “may

otherwise be present.” These most naturally align with the condition of the junction absent the

layer as opposed to stating an alternative to depinning.

    Accordingly, the Court construes the “Depin” terms as follows:

           •   “sufficiently thick to depin a Fermi level of the semiconductor” means

               “displacing the semiconductor from the contact metal by a sufficient distance to

               eliminate or at least reduce the effects of metal-induced gap states in the

               semiconductor and terminating all or substantially all dangling bonds that may be

               present at the surface of the semiconductor without the layer present”;

           •   “having a thickness sufficient to depin a Fermi level of the conductor” means

               “displacing the semiconductor from the conductor by a sufficient distance to

               eliminate or at least reduce the effects of metal-induced gap states in the

               semiconductor and terminating all or substantially all dangling bonds that may be

               present at the surface of the semiconductor without the layer present”;

           •   “has a thickness sufficient to depin a Fermi level of the metal electrical contact”

               means “displaces the semiconductor from the metal electrical contact by a

               sufficient distance to eliminate or at least reduce the effects of metal-induced gap

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                states in the semiconductor and terminates all or substantially all dangling bonds

                that may be present at the surface of the semiconductor without the layer present.”

         C.     “passivating material”

         Disputed Term                   Plaintiff’s Proposed             Defendants’ Proposed
                                            Construction                       Construction
 “passivating material”             plain and ordinary meaning         material that terminates all or
                                                                       substantially all dangling
 •   ’423 Patent Claim 63                                              bonds at the surface of the
                                                                       semiconductor


     The Parties’ Positions

     Plaintiff submits: The claim at issue does not require passivation, it simply requires a

“passivating material.” Rather, “passivating material” is used in the claim at issue as “passivation

material” is used in the description, according to its plain and ordinary meaning. Dkt. No. 65 at

12–13.

     In addition to the claims themselves, Plaintiff cites the following intrinsic and extrinsic

evidence to support its position: Intrinsic evidence: ’423 Patent col.3 ll.39–52, col.3 l.67 – col.4

l.2, col.5 ll.1–6, col.8 ll.11–12, col.8 ll.40–43, col.9 ll.40–42, col.9 ll.60–67, col.10 ll.47–50, col.12

ll.56–61. Extrinsic evidence: Neil Sclater and John Markus, McGraw-Hill Electronics Dictionary

at 329 (6th ed. 1997), “passivation” (Plaintiff’s Ex. K, Dkt. No. 65-12 at 4); McGraw Hill

Dictionary of Scientific and Technical Terms (6th ed. 2003), “passivation” (Plaintiff’s Ex. L, Dkt.

No. 65-13 at 4); Modern Dictionary of Electronics at 542 (7th ed. 1999), “passivation” (Plaintiff’s

Ex. M, Dkt. No. 65-14 at 4).

     Defendants respond: The Asserted Patents define “passivate” and “passivation” as eliminating

or terminating dangling bonds. Dkt. No. 69 at 8–9 (citing ’423 Patent col.5 ll.1–6, col.9 ll.23–26).

Thus, the “passivating material,” which is material defined by its passivating function, must



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terminate the all or substantially all dangling bonds. Indeed, Plaintiff’s expert states as much. Id.

at 10 (citing Piner Decl. ¶¶ 59–60). Id. at 8–10.

      In addition to the claims themselves, Defendants cite the following intrinsic and extrinsic

evidence to support their position: Intrinsic evidence: ’423 Patent col.5 ll.1–6, col.9 ll.23–26.

Extrinsic evidence: Piner Decl. ¶¶ 59–60 (Plaintiff’s Ex. G, Dkt. No. 65-8).

      Plaintiff replies: Neither Plaintiff’s not Defendants’ expert initially provided any opinion on

the construction of “passivating material.” Rather, the experts opined on the dispute over the

dangling bonds that are terminated by the interface layer, which dispute is presented in the Depin

terms. During claim-construction discovery, it became apparent that the “passivating material”

should not be construed to incorporate the definition of the depinning that applies to the interface

layer. Indeed, doing so would eliminate any distinction between Claim 63 of ’423 Patent and

Claim 62 from which Claim 63 depends. Further, “passivating material” should not be interpreted

the same as “passivating layer.” Dkt. No. 71 at 4–5.

      Plaintiff cites further intrinsic and extrinsic evidence to support its position: Intrinsic

evidence: ’423 Patent col.3 ll.12–28. Extrinsic evidence: Piner Decl. ¶ 60 (Plaintiff’s Ex. G, Dkt.

No. 65-8); Bokor Decl. (Plaintiff’s Ex. I, Dkt. No. 65-10); Piner Dep. 6 at 261:23 – 262:6, 264:3–

15. 265:7–11, 266:18 – 268:13 (Plaintiff’s Ex. W, Dkt. No. 71-2 at 40–41, 43–47).

      Analysis

      The issue in dispute is whether the “passivating material” must terminate all or substantially

all of the dangling bonds at the semiconductor surface. The material must be capable of terminating

dangling bonds at the surface of the semiconductor, but it need not terminate all or substantially

all such bonds as Defendants propose.



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    The Asserted Patents use “passivating material” to refer to a material used to build a layer

rather than a layer itself. For instance, the patents provide:

        The interface layer may include a passivating material (e.g., a nitride, oxide,
        oxynitride, arsenide, hydride and/or fluoride) and sometimes also includes a
        separation layer. In some cases, the interface layer may be essentially a monolayer
        (or several monolayers) of a semiconductor passivating material.

        In another embodiment, the interface layer is made up of a passivation layer
        fabricated by heating the semiconductor in the presence of nitrogenous material,
        for example ammonia (NH3), nitrogen (N2) or unbound gaseous nitrogen (N)
        generated from a plasma process. In such cases, the interface layer may be
        fabricated by heating the semiconductor while in a vacuum chamber and exposing
        the semiconductor to the nitrogenous material.

’423 Patent col.3 ll.41–55 (emphasis added). This describes that the “passivating material” is the

building block of the passivation layer. The patents similarly provide:

        A common processing operation performed during semiconductor device
        fabrication is silicon surface passivation. Surface passivation (whether by an oxide
        or another material) chemically neutralizes and physically protects the underlying
        silicon. For example, exposing a silicon surface to oxygen (under the appropriate
        conditions to grow a protective film of silicon dioxide) will allow the oxygen to
        react with the dangling bonds of the silicon surface to form covalent bonds that
        satisfy the surface silicon atoms’ valency and render the surface fully coordinated.

Id. at col.8 ll.9–18. Again, this suggests that a layer (or “film”) is constructed of the material rather

than being coextensive with the material. See also id. at col.8 ll.51–55 (“In addition to the above,

the present inventors propose techniques for providing non-insulating, passivated semiconductor

surfaces using materials other than nitrogen; for example, oxides, hydrides, arsenides and/or

fluorides.”).

    The passivating material terminates (bonds with) dangling bonds on the surface of the

semiconductor but it is the passivating layer that terminates all (or substantially all) of the dangling

bonds that would otherwise be there. For example, the patents describe:

        The interface layer 520 is formed on the semiconductor 530 and may contain a
        passivation material that bonds to the semiconductor material by way of a
        covalent (or other) bond formed between the passivation material and the

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       semiconductor material. For example, an atom of passivation material may
       covalently bond with a dangling bond of a surface silicon atom to fully coordinate
       the silicon atom and thereby help passivate the silicon atom. In some cases, the
       passivation material may be the sole component of the interface layer 520, while in
       other cases the interface layer 520 may be a compound layer that includes both a
       passivation layer and a separation layer. That is, the interface layer serves to (i)
       chemically passivate the semiconductor surface 540, and (ii) displace the
       semiconductor from the metal sufficiently to eliminate or at least reduce the effect
       of MIGS.

Id. at col.9 ll.39–53 (emphasis added).; see also id. at col.8 ll.9–18 (describing the formation of

the “protective film” on the surface); id. at col.5 ll.1–6 (“The interface layer functions to passivate

the semiconductor surface (that is, terminate dangling bonds that may otherwise be present at

the semiconductor surface so as to assure chemical stability of the surface) and to displace the

semiconductor from the metal so as to reduce the effect of MIGS.” (emphasis added)).

    The use of “passivating material” to denote material that is capable of bonding with dangling

bonds comports with a customary meaning of “passivation.” See, e.g., Modern Dictionary of

Electronics at 542 (7th ed. 1999) (defining “passivation” as “[e]lectrical treatment of a metal or

semiconductor to create a chemically bonded oxide layer on the surface to protect it from

corrosion”). Dkt. No. 65-14 at 4.

     On balance, Defendants’ proposed construction is more applicable to a passivating layer than

it is to the material used to build the layer and Plaintiff’s “plain and ordinary” meaning construction

threatens to capture a myriad of dictionary definitions that do not properly reflect the use of the

“passivating material” in the patents.

    Accordingly, the Court construes “passivating material” as follows:

           •   “passivating material” means “material capable of terminating dangling bonds at

               the surface of the semiconductor.”




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       D.      The “Interface Layer” Terms

        Disputed Term                 Plaintiff’s Proposed             Defendants’ Proposed
                                         Construction                       Construction
 “interface layer”               plain and ordinary meaning        a layer of material, other than
                                                                   metal silicide, at the interface
 •   ’423 Patent Claim 62                                          between the [conductor,
 •   ’336 Patent Claims 1, 5,                                      contact metal, metal electrical
     9, 13, 65, 68, 71, 74, 77                                     contact] and the semiconductor
 •   ’261 Patent Claims 1, 21
 •   ’167 Patent Claim 1
 •   ’691 Patent Claim 25
 •   ’395 Patent Claims 1, 17,
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 “wherein the interface layer    wherein the interface layer       aside from “interface layer,”
 further includes a separation   includes a layer of material,     addressed above, agree with
 layer”                          distinct from a layer             Acorn’s construction
                                 including the passivating
 •   ’423 Patent Claim 66        material, to further displace
                                 the conductor from the
                                 semiconductor

 “the interface layer            the interface layer comprising    aside from “interface layer,”
 comprising a metal oxide and    a layer of a metal oxide and a    addressed above, agree with
 an oxide of the                 distinct layer of an oxide of     Acorn’s construction
 semiconductor”                  the semiconductor

 •   ’167 Patent Claim 1
 “said interface layer           said interface layer              aside from “interface layer,”
 comprising a metal oxide and    comprising a layer of a metal     addressed above, agree with
 a semiconductor oxide”          oxide and a distinct layer of a   Acorn’s construction
                                 semiconductor
 •   ’395 Patent Claim 1
 “said interface layer           said interface layer              aside from “interface layer,”
 comprising an oxide of          comprising a layer of an          addressed above, agree with
 titanium and an oxide of the    oxide of titanium and a           Acorn’s construction
 semiconductor”                  distinct layer of an oxide of
                                 the semiconductor
 •   ’395 Patent Claim 17




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         Disputed Term                    Plaintiff’s Proposed          Defendants’ Proposed
                                              Construction                    Construction
 “said interface layer               said interface layer            aside from “interface layer,”
 comprising an oxide of              comprising a layer of an        addressed above, agree with
 titanium and an oxide of the        oxide of titanium and a         Acorn’s construction
 semiconductor region”               distinct layer of an oxide of
                                     the semiconductor region
 •   ’395 Patent Claim 23

     Because the parties’ arguments and proposed constructions with respect to these terms are

related, the Court addresses the terms together.

     The Parties’ Positions

     Plaintiff submits: It would be improper to exclude “metal silicide” from the scope of “interface

layer.” While the Asserted Patents include criticism of an interface layer comprised solely of metal

silicide, the patents allow a multi-component interface layer. This means that even if an interface

layer consisting solely of a metal silicide may not achieve the purpose of the invention, the

interface layer of the claims may include a metal silicide. In fact, the patents disclose that the

conductor of the junction may be one that is not able to form a silicide, implying that it may be

one that does form a silicide. Dkt. No. 65 at 15–16 (citing ’423 Patent col.15 ll.18–27). Further,

the patents disclose use of metals that are known to form silicides. Id. at 16 (citing ’423 Patent

col.13 ll.56–65). Finally, Claims 17 and 19 of the ’261 Patent expressly recite negative limitations

directed at silicides, indicating that it would be improper to include such a negative limitation when

it is not expressed. Id. at 13–17.

     In addition to the claims themselves, Plaintiff cites the following intrinsic and extrinsic

evidence to support its position: Intrinsic evidence: ’423 Patent, at [57] Abstract, col.13 ll.56–65,

col.14 l.61 – col.15 l.27. Extrinsic evidence: Piner Decl. ¶¶ 61–74 (Plaintiff’s Ex. G, Dkt. No.

65-8).



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    Defendants respond: The Asserted Patents include a disclaimer of metal silicide in the

interface layer. Specifically, the patents disparage the prior-art approach of using silicide-forming

metals at the contact with the semiconductor. The use of metal silicides in electrical junctions that

is disclosed in the patents is restricted to the conductor—the patents do not disclose use of a metal

silicide at the interface layer. Rather, they teach that putting a metal silicide at the surface of

semiconductor would cause MIGS, which runs counter to the purpose of the invention. Claims 17

and 19 of the ’261 Patent do not suggest using a metal silicide in the interface layer: Claim 17 is

expressly directed to the “contact metal” and “[t]here is no dispute that the ‘contact metal’ is the

conductor and is not part of the interface layer.” Dkt. No. 69 at 14. Claim 19 is directed to a “barrier

layer” rather than an “interface layer.” Id. at 10–15.

    In addition to the claims themselves, Defendants cite the following intrinsic and extrinsic

evidence to support their position: Intrinsic evidence: ’423 Patent, at [54] Title, [57] Abstract,

fig.6, col.1 ll.18–22, col.2 ll.35–42, col.2 l.65 – col.3 l.9, col.3 ll.11–28, col.4 ll.43–47, col.5 ll.1–

6, col.7 l.46 – col.8 l.6, col.12 ll.56–66, col.13 ll.26–30, col.14 l.61 – col.15 l.27. Extrinsic

evidence: Piner Dep. at 64:14–17, 75:14 – 77:4, 88:6–11, 88:23 – 89:20 (Defendants’ Ex. 1, Dkt.

No. 69-2 at 17–22).

    Plaintiff replies: As explained in the Asserted Patents, one of the benefits of the invention is

that it allows for contact metals other than those that can form a silicide. Dkt. No. 71 at 6 (citing

’423 Patent col.12 ll.56–66). But this does not preclude the use of silicide-forming metals at the

interface. In fact, the patents teach that a metal silicide may be suitable as a passivating layer,

allowing the silicide to be combined with a separation layer to address MIGS and thereby form an

interface layer of the claims. Finally, the patents do not require an interface layer to reduce MIGS.




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When required, such a limitation is expressed in the claims through reference to depinning, MIGS,

or specific materials. Dkt. No. 71 at 5–7.

      Plaintiff cites further intrinsic and extrinsic evidence to support its position: Intrinsic

evidence: ’423 Patent col.12 ll.56–66. Extrinsic evidence: Piner Dep. 7 at 74:12 – 75:2, 77:7–10,

88:17–21 (Plaintiff’s Ex. W, Dkt. No. 71-2 at 35–36, 38–39).

      Analysis

      The issue in dispute is whether the claims exclude any metal silicide from the interface layer.

They do not.

      The discussion of metal silicide in the Asserted Patents does not rise to a disclaimer of metal

silicide in the interface layer. As described in the patents, one prior-art approach to tuning the

Schottky barrier height involved the use of a silicide at the contact of the conductor with the

semiconductor. For example, the patents provide:

         As mentioned above, the present inventors have devised a scheme to control or
         adjust a Schottky barrier height by forming an interface layer (which includes
         or sometimes consists of a passivation layer that includes an oxide, oxynitride,
         nitride, arsenide, hydride, fluoride, or an equivalent) between a metal and a
         semiconductor. This scheme differs from past attempts by others to control
         barrier height, which attempts generally involved either using a silicide as a
         contact metal (and thus limiting the choices of available contact metals to those
         that can form suicides), or using esoteric substrates that exhibit wide bandgaps.

’423 Patent col.12 ll.56–66 (emphasis added). This explains that placing a layer between the

contact metal (conductor) and the semiconductor differs from using a silicide as the contact metal

in a junction lacking any layer between the contact metal and semiconductor.

      Elsewhere, the patents suggest using a metal silicide as the contact metal in an embodiment

that includes an interface layer:




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       FIG. 6 shows an example of a diode 600 containing, according to one embodiment
       of the present invention, an interface layer 620 disposed between and attached to
       both a semiconductor 610 and a conductor 630. …

       The conductor 630 contains a conductive material such as a metal or an alloy of a
       metal. … Unless otherwise specified, conductors include metals (e.g., pure metals
       and alloys), and other conductors such as doped polysilicon (a nonporous silicon
       containing randomly oriented crystallites), doped single crystal silicon, and metal
       silicides.

Id. at col.13 ll.11–33 (emphasis added). Thus, the claims do not necessarily exclude a junction in

which the conductor is a metal silicide and is separated from the semiconductor by an interface

layer. But the invention need not be implemented using a silicide-forming metal as the contact

metal because the interface layer provides passivation:

       Another advantage achieved through the use of the interface layer 620 is greater
       flexibility afforded in selecting a conductor 630. Typically, metals chosen for
       application in classic Schottky diodes are those that can form a silicide with a
       silicon semiconductor. The formation of the silicide helps to reduce surface states
       (resulting, from dangling bonds), but not the effects of MIGS. Thus, the Fermi
       level at the semiconductor surface is still pinned. Using metals that form silicides
       upon contact with silicon may thus help to make the devices more reproducible in
       a manufacturing environment, but such devices still suffer from the drawback of
       having a barrier height that is fixed.

       According to one embodiment of the present invention, however, one may select a
       conductor that is not able (or not readily able) to form a silicide with the
       semiconductor. The metal silicide is not needed because the interface layer
       provided in accordance with the present invention passivates the semiconductor
       surface and also reduces or eliminates the effect of MIGS. This may allow for
       selection of a metal that has properties such as a desirable work function or Fermi
       level energy, even though that metal may not form a metal silicide.

Id. at col.15 ll.6–28 (emphasis added). In other words, the passivating effect of the metal silicide

at the contact is neither necessary nor sufficient to depin the Fermi level in the conventional

approach. To depin, a layer is inserted between the conductor and the semiconductor and thus the

conductor is not limited to a metal silicide. See id. at col.17 ll.14–52 (contrasting a

silicide­semiconductor junction of the prior art with a metal-interface layer-semiconductor

junction of the invention).

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    Taken together, these teachings establish that a metal silicide-semiconductor junction was in

the prior art and is distinct from the metal-interface layer-semiconductor junction of the

invention. But this does not unambiguously establish that no metal silicide may be present in the

interface layer. Indeed, these disclosures teach that a metal silicide passivates the semiconductor

(reducing surface states that result from dangling bonds). The patents further teach multi-

component interface layers: “The interface layer may include a passivating material . . . and

sometimes also includes a separation layer.” Id. at col.3 ll.41–44. Thus, it is conceivable that an

interface layer may include a metal silicide as a passivating material in addition to a separation

layer to achieve depinning. A metal-interface layer-semiconductor junction with such a

compound interface layer would not be the same as the disparaged prior-art silicide-semiconductor

junction, which lacks an interface layer.

    Accordingly, the Court rejects Defendants’ other-than-metal-silicide negative limitation,

determines that “interface layer” has its plain and ordinary meaning without the need for further

construction, and construes the remaining terms as follows:

           •   “wherein the interface layer further includes a separation layer” means “wherein

               the interface layer includes a layer of material, distinct from a layer including the

               passivating material, to further displace the conductor from the semiconductor”;

           •   “the interface layer comprising a metal oxide and an oxide of the semiconductor”

               means “the interface layer comprising a layer of a metal oxide and a distinct layer

               of an oxide of the semiconductor”;

           •   “said interface layer comprising a metal oxide and a semiconductor oxide” means

               “said interface layer comprising a layer of a metal oxide and a distinct layer of a

               semiconductor”;


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             •   “said interface layer comprising an oxide of titanium and an oxide of the

                 semiconductor” means “said interface layer comprising a layer of an oxide of

                 titanium and a distinct layer of an oxide of the semiconductor”; and

             •   “said interface layer comprising an oxide of titanium and an oxide of the

                 semiconductor region” means “said interface layer comprising a layer of an oxide

                 of titanium and a distinct layer of an oxide of the semiconductor region.”

        E.       “a metal oxide layer, and a passivating dielectric tunnel barrier layer” and “the
                 interface layer comprising a metal oxide separation layer and a semiconductor
                 oxide passivation layer”

        Disputed Term                   Plaintiff’s Proposed             Defendants’ Proposed
                                            Construction                      Construction
 “a metal oxide layer, and a       a metal oxide layer, and a        a metal oxide layer, and a
 passivating dielectric tunnel     distinct dielectric tunnel        distinct dielectric tunnel
 barrier layer”                    barrier layer that terminates     barrier layer that terminates
                                   all or substantially all          all or substantially all
 •   ’691 Patent Claim 1           dangling bonds that may be        dangling bonds at the surface
                                   present at the surface of the     of the semiconductor region
                                   semiconductor region without
                                   the layer present

 “the interface layer comprising   the interface layer comprising    the interface layer comprising
 a metal oxide separation layer    a metal oxide separation layer    a metal oxide separation layer
 and a semiconductor oxide         and a distinct layer of a         and a distinct layer of a
 passivation layer”                semiconductor oxide that          semiconductor oxide that
                                   terminates all or substantially   terminates all or substantially
 •   ’691 Patent Claim 25          all dangling bonds that may       all dangling bonds at the
                                   be present at the surface of      surface of the semiconductor
                                   the semiconductor without
                                   the layer present


     Because the parties’ arguments and proposed constructions with respect to these terms are

related, the Court addresses the terms together.

     The Parties’ Positions

     Plaintiff and Defendants submit that the issues in dispute regarding these terms are the same

as presented in the Depin terms. Dkt. No. 65 at 17–18; Dkt. No. 69 at 15.

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     Analysis

     For the reasons set forth in regard to the “Depin” terms, the Court construes these terms as

follows:

            •   “a metal oxide layer, and a passivating dielectric tunnel barrier layer” means “a

                metal oxide layer, and a distinct dielectric tunnel barrier layer that terminates all

                or substantially all dangling bonds that may be present at the surface of the

                semiconductor region without the layer present”; and

            •   “the interface layer comprising a metal oxide separation layer and a semiconductor

                oxide passivation layer” means “the interface layer comprising a metal oxide

                separation layer and a distinct layer of a semiconductor oxide that terminates all

                or substantially all dangling bonds that may be present at the surface of the

                semiconductor without the layer present.”

       F.       “configured to”

        Disputed Term                   Plaintiff’s Proposed             Defendants’ Proposed
                                           Construction                      Construction
 “configured to”                   plain and ordinary meaning         “designed to”

 •   ’336 Patent Claims 1, 65
 •   ’261 Patent Claim 1
 •   ’691 Patent Claim 20

     The Parties’ Positions

     Plaintiff submits: Defendants provide no evidence to justify construing “configured to” as

“designed to.” Dkt. No. 65 at 18–19.

     In addition to the claims themselves, Plaintiff cites the following intrinsic and extrinsic

evidence to support its position: Intrinsic evidence: ’423 Patent col.13 ll.31–34. Extrinsic




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evidence: Bokor Dep. at 147:10–21 (Plaintiff’s Ex. J, Dkt. No. 65-11 at 15); Piner Decl. ¶ 90

(Plaintiff’s Ex. G, Dkt. No. 65-8).

    Defendants respond: In the context of the surrounding claim language and description of the

invention, “configured to” refers to an interface layer “designed with an appropriate thickness to

depin the Fermi level and reduce the Schottky height barrier” rather than one that is “merely

capable of reducing the height of the Schottky barrier.” Dkt. No. 69 at 17; see also id. at 16–18.

    In addition to the claims themselves, Defendants cite the following intrinsic evidence to

support their position: ’423 Patent col.7 l.37 – col.8 l.6, col.15 ll.43–47.

    Plaintiff replies: That a layer is “configured to” reduce the height of the Schottky barrier height

is not a statement of some theoretical capability to do such but is a statement that it actually does

such. Whether the layer does reduce the barrier height does not properly involve exploring the

intent of the product designers, as Defendants’ construction supposes. Dkt. No. 71 at 7–8.

    Analysis

    The issue in dispute appears to distill to whether a layer that is “configured to” reduce a

Schottky barrier height is necessarily intentionally designed for that purpose. It is not.

    The Court rejects Defendants’ proposed construction. Defendants have not identified any

evidence that rises to the exacting standard required to redefine the plain meaning of “configured

to” as “designed to.” Plaintiff is not advocating mere capability, so Defendants’ construction

appears to address a non-issue and therefore fails to clarify anything. Further, Defendants’

construction threatens to improperly supplant a component’s role in a particular system with the

component-creator’s subjective intent for the component, perhaps divorced from the system. For

example, a particular layer designed for structural purposes may also incidentally possess

passivation attributes. Such a layer may not be “designed to” “reduce a height of a Schottky barrier



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. . . ,” but can, in fact, be used to reduce the height of the barrier. Thus, Defendants’ proposed

“designed to” limitation could improperly exclude a layer that is actually used to reduce the height

of the barrier. The Federal Circuit has further instructed that “configured to” does not include a

“subjective element” such as the designer’s intent. Cochlear Bone Anchored Sols. AB v. Oticon

Med. AB, 958 F.3d 1348, 1356 (Fed. Cir. 2020) (citations omitted).

     Accordingly, the Court rejects Defendants’ proposed construction and determines that this

term has its plain and ordinary meaning without the need for further construction.

        G.     “generally dependent”

        Disputed Term                  Plaintiff’s Proposed           Defendants’ Proposed
                                          Construction                     Construction
 “generally dependent”            plain and ordinary meaning       indefinite

 •   ’423 Patent Claim 62
 •   ’395 Patent Claim 5

     The Parties’ Positions

     Plaintiff submits: In the appropriate context, “generally dependent” refers to the relationship

between contact resistance and workfunction and denotes “a specific contact resistance that is more

dependent on the workfunction of the conductor than was observed in the prior art.” Dkt. No. 65

at 24. During prosecution of the ’423 Patent, the “generally dependent” language was added and

used to distinguish prior art in which the resistance was independent of the workfunction. The

Asserted Patents also disclose the dependence of Schottky barrier height on workfunction, and the

known relationship between barrier height and contact resistance is one of a complicated

dependence, in which contact resistance varies with the square root of the barrier height. To denote

such a complicated relationship, “generally dependent” is the appropriate terminology. Further,

Samsung Electronics Co. was able to ascertain the meaning of the claim language in Inter Partes

Review (“IPR”), so the language cannot be indefinite. Id. at 19–28.

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    In addition to the claims themselves, Plaintiff cites the following intrinsic and extrinsic

evidence to support its position: Intrinsic evidence: ’423 Patent fig.8, col.1 ll.38–57, col.1 l.59 –

col.3 l.9, col.5 l.24, col.5 l.26, col.6 ll.6–10, col.8 ll.61–62, col.11 l.2, col.11 l.13, col.12 ll.56–61,

col.14 ll.9–14, col.15 ll.43–47, col.16 ll.6–9, col.17 l.28; ’423 Patent File Wrapper April 4, 2005

Amendment at 10, 12 (Plaintiff’s Ex. N, Dkt. No. 65-15 at 13, 15). Extrinsic evidence: Piner Decl.

¶¶ 108–19 (Plaintiff’s Ex. G, Dkt. No. 65-8); Piner Dep. 53:19 – 55:6 (Plaintiff’s Ex.H, Dkt. No.

65-9 at 11–13); Bokor Decl. 8 ¶¶ 22, 24, 26, 28 n.2 (Plaintiff’s Ex. I, Dkt. No. 65-10); Bokor Dep.

at 33:20 – 35:23, 60:24 – 61:5, 63:24–25, 69:21 – 71:1, 157:12 – 181:24 (Plaintiff’s Ex. J, Dkt.

No. 65-11 at 4–9, 12–14, 16–40); J. Bokor et al., Advanced Lithography for ULSI, IEEE Circuits

and Devices Magazine Vol.12, No.1 9 at 12 (Jan. 1996) (Plaintiff’s Ex. O, Dkt. No. 65-16 at 3);

Dennis Sinitsky et al., High Field Hole Velocity and Velocity Overshoot in Silicon Inversion

Layers, IEEE Electron Device Letters, Vol.18, No.2 at 54, 56 (Feb. 1997) (Plaintiff’s Ex. P, Dkt.

No. 65-17 at 2, 4); Yu-Chih Tseng et al., Effect of Diameter Variation in a Large Set of Carbon

Nanotube Transistors, Nano Lett. Vol.6, No.7 (2006) at 1365–66, 1368 (Plaintiff’s Ex. Q, Dkt.

No. 65-18 at 3–4); M. Teresa Martinez et al., Streptavidin as CNTs and DNA Linker for the Specific

Electronic and Optical Detection of DNA Hybridization, J. Phys. Chem. C (2012) at 22584

(Plaintiff’s Ex. R, Dkt. No. 65-19 at 7); IPR ’423 Petition 10 at 39–45 (Plaintiff’s Ex. S, Dkt. No.

65-20 at 3–9); IPR ’423 Schubert Decl. 11 at ¶¶ 120–30 (Plaintiff’s Ex. T, Dkt. No. 65-21); IPR




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  Declaration of Jeffrey Bokor, Ph.D.
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   The document submitted by Plaintiff does not identify the journal, but indicates it was
downloaded from IEEE Xplore, which in turn identifies the journal: https://ieeexplore.ieee.org
/document/481203.
10
   Petition for Inter Partes Review of U.S. Patent No. 7,084,423, Samsung Elecs. Co. v. Acorn
Semi, LLC, IPR 2020-01182, Paper No. 2 (P.T.A.B. June 24, 2020).
11
   Declaration of Dr. E. Fred Schubert, Samsung Elecs. Co. v. Acorn Semi, LLC, IPR 2020-01182,
Ex. No. 1003 (P.T.A.B. June 24, 2020).
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’395 Petition 12 at 32–34 (Plaintiff’s Ex. U, Dkt. No. 65-22 at 3–4); IPR ’395 Schubert Decl. 13 at

¶¶ 184–96 (Plaintiff’s Ex. V, Dkt. No. 65-23).

     Defendants respond: It is not reasonably certain what “generally dependent” means beyond

“dependent.” But it is certain that it means something other than simply “dependent” else

“generally” would have no effect. In the context of the claims at issue, “generally,” as it is generally

understood, does not convey the precision required to specify the degree to which the contact

resistance depends on the workfunction. Additionally, there is no disclosure in the intrinsic record

that provides a standard by which to determine this degree. In the IPR, Samsung asserted art that

disclosed such a strong dependence between resistance and workfunction that it clearly falls within

the scope of “generally dependent,” even without reasonable certainty regarding the lower end of

the dependence denoted by “generally dependent.” Dkt. No. 69 at 18–26.

     In addition to the claims themselves, Defendants cite the following intrinsic and extrinsic

evidence to support their position: Intrinsic evidence: ’423 Patent fig.8, col.14 ll.27–50; ’423

Patent File Wrapper April 4, 2005 Amendment at 10, 12 (Defendants’ Ex. 4, Dkt. No. 69-5 at 13,

15). Extrinsic evidence: Bokor Decl. ¶¶ 21–31 (Plaintiff’s Ex. I, Dkt. No. 65-10); Piner Decl. ¶¶

112–17 (Plaintiff’s Ex. G, Dkt. No. 65-8); Piner Dep. at 25:19 – 26:1, 35:9 – 36:6, 36:8–17, 39:16

– 40:10, 51:3 – 52:17, 53:19 – 55:6 (Defendants’ Ex. 1, Dkt. No. 69-2 at 6–16); Bokor Dep. at

33:20 – 34:16, 160:13 – 162:1 (Defendants’ Ex. 2, Dkt. No. 69-3 at 5–6, 8–10); The American

Heritage Dictionary of the English Language at 732 (4th ed. 2006), “generally” (Defendants’ Ex.

3, Dkt. No. 69-4 at 4); IPR ’423 Petition at 22 n.2, 39–45 (Defendants’ Ex. 5, Dkt. No. 69-6 at 32,




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   Petition for Inter Partes Review of U.S. Patent No. 10,090,395, Samsung Elecs. Co. v. Acorn
Semi, LLC, IPR 2020-01282, Paper No. 2 (P.T.A.B. July 13, 2020).
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   Declaration of Dr. E. Fred Schubert, Samsung Elecs. Co. v. Acorn Semi, LLC, IPR 2020-01182,
Ex. No. 1126 (P.T.A.B. July 13, 2020).
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49–55); IPR ’423 Schubert Decl. at ¶¶ 120–30 (Defendants’ Ex. 6, Dkt. No. 69-7); IPR ’395

Petition at 15 n.1, 32–34 (Defendants’ Ex.7, Dkt. No. 69-8 at 44–46); IPR ’395 Schubert Decl. at

¶¶ 184–96 (Defendants’ Ex.8, Dkt. No. 69-9).

       Plaintiff replies: Defendants’ expert testified that the “generally dependent” language refers

to more than “some minimal dependency” else the claims would capture the prior art. Thus,

“generally dependent” refers to a dependence that is greater than that known in the prior art. Dkt.

No. 71 at 8–10.

       Plaintiff cites further intrinsic and extrinsic evidence to support its position: Intrinsic

evidence: ’423 Patent col.14 ll.27–50. Extrinsic evidence: Piner Dep. at 19:3 – 20:21, 22:15–24,

27:18 – 28:4, 30:8 – 32:5, 36:8 – 46:10 (Plaintiff’s Ex. W, Dkt. No. 71-2 at 7–8, 10, 15–16, 18–

20, 24–34); Bokor Dep. at 31:11 – 35:23 (Plaintiff’s Ex. X, Dkt. No. 71–3 at 4–8); E.H. Rhoderick,

Metal-Semiconductor Contacts, IEEE PROC., Vol.129, Pt.1 No.1 at fig.2 (Feb. 1982) (Plaintiff’s

Ex. I, 14 Dkt. No. 65-10 at 76–89, 78).

       Analysis

       The issue in dispute is whether “generally dependent” in the claims refers to a reasonably

certain degree of dependence of the specific contact resistance on the workfunction or Fermi

energy. It does not.

       The term “generally dependent” appears in the claims to relate the specific contact resistance

to the workfunction of the conductor or the Fermi energy of the semiconductor. Claim 62 of the

’423 Patent provides:

             62. An electrical device, comprising a junction between a Si-based
           semiconductor and a conductor separated from the semiconductor by an
           interface layer having a thickness sufficient to depin a Fermi level of the
           conductor in a vicinity of the junction yet thin enough to provide the junction


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     Roderick is Exhibit D to the Bokor Decl.
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         with a specific contact resistance that is generally dependent on the
         workfunction of the conductor.

’423 Patent col.22 ll.14–21 (emphasis added). Claim 5 of the ’395 Patent provides:

           5. The electrical junction of claim 1, wherein said interface layer has a
         thickness sufficient to depin a Fermi level of the metal electrical contact in a
         vicinity of the junction yet thin enough to provide the junction with a specific
         contact resistivity that is generally dependent on: a workfunction of the metal
         electrical contact, a Fermi energy of the semiconductor in the region, or both
         the workfunction of the metal electrical contact and the Fermi energy of the
         semiconductor in the region.

’395 Patent col.18 l.62 – col.19 l.3 (emphasis added).

    The term “generally dependent” is a term of degree for which the Asserted Patents do not

provide sufficient guidance for determining the degree. The Court rejects Plaintiff’s position that

“generally dependent” in the claims refers to any dependence greater than what was known in the

prior art. To begin, nothing in the plain meaning of “generally dependent” invokes a comparison

to the prior art, and definitely not to any specific or reasonably certain level of dependence known

in the prior art. Plus, there is no disavowal or disclaimer in the patents that would limit the claimed

dependence of the specific contact resistance on the workfunction in the way Plaintiff suggests.

    The patents describe known relationships between the Schottky barrier height and

workfunction (which the parties agree denotes a relationship between contact resistance and

workfunction) as: (1) “direct variation” of the barrier height with the work function, (2) a “much

weaker variation”, and (3) no variation (independence). ’423 Patent col.1 l.38 – col.2 l.19. The

weaker-than-direct variation is attributed in part to surface states of the semiconductor. Id. at col.1

l.65 – col.2 l.19; col.2 ll.61–63. A goal of the invention is to eliminate or reduce the surface-state

effects using an interface layer to passivate the semiconductor and remove MIGS in order to allow

tuning of the barrier height. Id. at col.3 ll.3–9; col.7 ll.46–54; col.9 ll.21–35. In one embodiment,

passivation yields “a barrier height that depends predominantly upon the bulk characteristics of


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the semiconductor and the conductor, rather than on surface properties, and may depend in part on

the characteristics of the interface layer.” Id. at col.13 ll.41–56. In another embodiment, the

interface layer “de-pins the Fermi level (so that the barrier height depends predominantly on bulk

properties of the junction materials).” Id. at col.15 ll.38–49. “Ideally, if all surface states are

removed, barrier height should be controllable simply by the choice of metal used.” Id. at col.14

ll.16–26. Even if the interface layer is sufficiently thick to remove surface-state effects, the barrier

height (and thus contact resistance) may depend on other parameters, such as layer thickness,

temperature of layer formation, and layer material. Id. at col.14 ll.16–60. But while the patents

describe that the barrier height may depend on, or even “predominantly depend” on, a variety of

characteristics, there is no description of what it means for the height to “generally depend” on any

characteristic.

    The intrinsic evidence of record provides that the only clear distinction between the prior-art

dependence and the claimed dependence is that “generally dependent” does not encompass

“independent.” Specifically, “generally dependent” was added during prosecution with the

following argument:

        New claim 62 recites an electrical device in which the interface layer has a thickness
        sufficient to depin a Fermi level of the conductor yet thin enough to provide the
        junction with a specific contact resistance that is generally dependent on the
        workfunction of the conductor. Support for this claim may be found, for example
        at paragraph 70 et seq. of the specification as originally filed. This claim is
        patentable over Schroen, which specifically indicates that the junction has a
        thickness sufficiently thick so that resistance is independent of the metal
        workfunction. See, e.g., Schroen at col. 5, 11, 19–24 (‘the metallurgical
        compatibility constraint is removed.”). Because these junctions are thus
        substantially different, the new claim is patentably distinct from the structure
        disclosed by Schroen.

’423 Patent File Wrapper April 4, 2005 Amendment at 10, 12 (emphasis in original), Dkt. No.

69-5 at 13, 15. But “dependent” plainly does not encompass “independent.” Thus, the import of

“generally” is not clear from this distinction.
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     Exacerbating the lack of reasonable certainty regarding what degree of dependence qualifies

as “generally dependent” is a lack of a reasonably certain baseline with which to compare. For

instance, it is not clear if “generally dependent” refers to a dependence relative to some level of

variation of resistance with metal workfunction (or semiconductor Fermi energy 15) or to a

dependence relative to some level of variation of resistance with, e.g., layer thickness.

     Ultimately, the Court declines to interpret the “generally dependent” term of degree as plainly

relative to the prior art en masse. The patents do not tie “generally” to any particular level of

dependence in the prior art and the only specific distinction made over the prior art is fully found

in “dependent.” The patents also do not tie “generally dependent” on work function or Fermi

energy to any relationship between work function or Fermi energy with any other characteristic,

such as layer thickness. Simply, the patents do not sufficiently explain the standard for determining

if a particular dependence qualifies as “generally dependent.” The claims at issue are not “precise

enough to afford clear notice of what is claimed” and therefore fail to “appris[e] the public of what

is still open to them.” Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 909 (2014)

(quotation marks omitted) (citations omitted).

     Accordingly, Defendants have established that the meaning of “generally dependent” in Claim

62 of the ’423 Patent and Claim 5 of the ’395 Patent is not reasonably certain, and the Court finds

the term “generally dependent” indefinite.




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  While Claim 5 of the ’395 Patent recites a “specific contact resistivity that is generally dependent
on: a workfunction of the metal electrical contact, a Fermi energy of the semiconductor in the
region, or both the workfunction of the metal electrical contact and the Fermi energy of the
semiconductor in the region,” Plaintiff focuses its arguments solely on the relationship between
resistivity (resistance) and workfunction. On the record before the Court, there is no sufficiently
definite guidance regarding what it means for the contact resistivity to be generally dependent on
the Fermi energy.
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        H.      “the contact metal”

        Disputed Term                    Plaintiff’s Proposed            Defendants’ Proposed
                                            Construction                      Construction
 “the contact metal”                the conductor                     indefinite (lacks antecedent
                                                                      basis)
 •   ’261 Patent Claim 23

     The Parties’ Positions

     Plaintiff submits: The term “the contact metal” in Claim 23 of the ’261 Patent refers to the

“conductor” in Claim 21, from which Claim 23 depends. Dkt. No. 65 at 28–30.

     In addition to the claims themselves, Plaintiff cites the following intrinsic and extrinsic

evidence to support its position: Intrinsic evidence: ’423 Patent, at [57] Abstract, col.1 ll.25–26,

col.4 ll.3–9, col.12 ll.56–66, col.13 ll.21–33. Extrinsic evidence: Piner Decl. ¶¶ 101–07

(Plaintiff’s Ex. G, Dkt. No. 65-8).

     Defendants respond: As described in the Asserted Patent, not all conductors are metals. Thus,

it is not clear that “the contact metal” refers to the “conductor.” Dkt. No. 69 at 26–27.

     In addition to the claims themselves, Defendants cite the following intrinsic and extrinsic

evidence to support their position: Intrinsic evidence: ’423 Patent col.13 ll.27–31, col.13 ll.35–

42. Extrinsic evidence: Piner Decl. ¶¶ 105–06 (Plaintiff’s Ex. G, Dkt. No. 65-8).

     Plaintiff replies: The use of “contact metal” in Claim 23 is clearly an error. It is meant to refer

to the “conductor.” Dkt. No. 71 at 10.

     Analysis

     The issue in dispute is whether it is reasonably certain that “the contact metal” in Claim 23 of

the ’261 Patent refers to the “conductor” in Claim 21. It is not.

     The claims at issue are as follows:

           21. An electrical junction, comprising a conductor; a semiconductor selected
         from a list consisting of Si, Ge, C (a crystal structure of which is selected from

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         a list comprising a diamond lattice, a fulleride or a polymer), an alloy of Ge and
         Si, an alloy of Ge and C, an alloy of Si and C, and an alloy of Si, Ge, and C; and
         an interface layer disposed therebetween, the semiconductor comprising a
         source or drain of a transistor, and the interface layer comprising a metal oxide
         and having a thickness of approximately 0.1 nm to 5 nm.

           23. The electrical junction of claim 21, wherein the contact metal is a metal or
         a stack of metals deposited on the interface layer.

’261 Patent col.18 l.63 – col.19 l.4; id. at col.19 l.8–10 (emphasis added). It is not reasonably

certain that reference to “the contact metal” in Claim 23 refers to the “conductor” in Claim 21. As

explained in the Asserted Patents, “[t]he terms metal, conductive material, and conductor are all

related and appear in order from specific at the left to general at the right.” ’423 Patent col.13

ll.22–24. Thus, while a “metal” is necessarily a “conductor,” a “conductor” is not necessarily a

“metal.” Perhaps Claim 23 mistakenly references “contact metal” instead of “conductor.” But, at

the same time, perhaps Claim 21 mistakenly references “conductor” instead of “contact metal.”

On the record before the Court, either mistake seems equally plausible. Ultimately, it is not

reasonably certain if Claim 23 requires a contact metal regardless of whether the conductor of

Claim 21 is metal, or if it requires a conductor that is a metal, or if it requires simply a conductor,

or if it has some other meaning.

     Accordingly, Defendants have established that the meaning of “contact metal” in Claim 23 of

the ’261 Patent is not reasonably certain, and the Court finds the term “contact metal” indefinite.

V.     CONCLUSION

     The Court adopts the constructions above for the disputed and agreed terms of the Asserted

Patents. The Court further finds that Claim 62 of the ’423 Patent, Claim 5 of the ’395 Patent, and

Claim 23 of the ’261 Patent are indefinite. Furthermore, the parties should ensure that all testimony

that relates to the terms addressed in this Order is constrained by the Court’s reasoning. However,

in the presence of the jury the parties should not expressly or implicitly refer to each other’s claim


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construction positions and should not expressly refer to any portion of this Order that is not an

actual construction adopted by the Court. The references to the claim construction process should

be limited to informing the jury of the constructions adopted by the Court.
         SIGNED this 3rd day of January, 2012.
       SIGNED this 16th day of October, 2020.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE




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